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Dear Honorable Judge Crotty,

My name is Elena Malendevich and I am writing this letter of support for my friend Casey Michael
Antone. A little about myself and who I am. I am a mother of 3, currently employed with Chase Bank in
the capacity of senior reviewer-auditor in the Quality Assurance Group of Commercial Term Lending
Division. I frequently travel for business within the United States as well as internationally and that is
how I first met Casey.

The story of how I met Casey is worth telling. We met around 11 years ago while in Europe where I
traveled for a business conference. I was at the airport in Kiev, Ukraine awaiting to board a plane when
my gate was suddenly changed. I was on crutches at that time due to a sprained ankle. Casey was also
on this flight. As all the passengers proceeded to the new gate, Casey noticed I was struggling and
decided to come back and help me to my gate. We sat on the plane together from Kiev to Paris getting
to know each other. And, when we arrived in Paris, he made sure that the airline had somebody waiting
for me at the gate to assist me to my connecting flight back home to America. Since then we have been
great friends. We have seen each other several times a year.

I have known about Casey’s past and the legal troubles he had in the 1990th. He was very candid about
this with me. For the years that I have know Casey while he was living in Europe I have never seen
anything to indicate he reverted back to that type of lifestyle. In fact, the entire time I have known him
he has owned and operated various types of businesses in France, Germany, and The Netherlands
where he was living.

I would like to share with you some things that Casey has done just to show what kind of a person he is.
In addition to my professional work, I am a philanthropist and a volunteer. I joined an international
non-profit organization Health of Fatherland (aka Homeland Health) which provides surgical and
prosthetic assistance to underprivileged orphan children from former USSR who are born with severe
birth defects. Casey has helped me tremendously in several aspects within the foundation’s activities.
These include, building and maintaining our website, building web-based fundraising presentations,
visiting the children on their layovers in Europe before arriving in the United States, and helping to
organize leisure activities for children while they were undergoing medical treatments. This is not
something that everybody would be willing to do. Casey spend countless hours and showed a real
dedication to wanting to help the children, while having no financial incentive or any other benefits
except the personal gratification from helping others.

And now I would like to fast forward to 2016 when Casey was deported from The Netherlands back to
America. I was really shocked to learn about it. He came to visit me and he explained to me that he was
deported because his visa had expired and that he had some legal difficulties in The Netherlands just
prior to being deported. I asked him what he is going to do now, and he told me he will be traveling and
looking for an opportunity to open another business, like he did in Europe. I could tell he looked lost.
He himself even described his situation and expressed feeling as a stranger in his own Country. I wish I
would have really gotten to the bottom of how he was feeling and what his plans for his future were so
that I could have helped. One thing I know about Casey over the years is that it is so hard for him to ask
for help. He is the type of person who cares about others more than about himself.

When he called me from MCC New York after being arrested for this crime, he was at the lowest I have
seen him. Since then we have spoken regularly by e-mail and phone. And I have seen him wanting to
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make a real change for his future going forward. This time I plan on being there for Casey and helping
him to get back on his feet and achieve his goals of building a positive, constructive, and crime-free life.

Your honor, Casey has been in prison for almost 9 months. Most days I was talking to him he would tell
me about his involvement in tutoring the GED program to other less fortunate inmates at MCC New
York. He felt really good about doing it and was excited to see the positive improvement in inmates as a
result of his tutoring. In an effort of trying to improve the effectiveness of the GED program, Casey even
asked me to send him educational books that MCC facility did not provide so that he could continue
teaching in a more effective way and get the GED program participants one step closer toward receiving
their GED Certifications, which for some is a lifetime achievement they never thought they could
possess.

Your honor, I have seen tremendous positive changes in Casey in this past 9 months and he is willing to
accept my support when he is released to have the structure in his life to succeed. I know he has
mentioned he wanted to ask being released to a half way house so he can begin his life over again. And I
think that is a very good idea of him to spend his first few months in the facility like that. But, without
the court’s support and guidance it could not be possible. I hope you would consider that and allow
Casey to have the opportunity for a 2nd chance to rebuild his life.

Sincerely,

Elena Malendevich




October 8, 2018
